

GSMS 2015-GC34 Commerce Ct., LLC v Calamar Constr. Mgt., Inc. (2025 NY Slip Op 02542)





GSMS 2015-GC34 Commerce Ct., LLC v Calamar Constr. Mgt., Inc.


2025 NY Slip Op 02542


Decided on April 25, 2025


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 25, 2025

PRESENT: LINDLEY, J.P., OGDEN, DELCONTE, AND HANNAH, JJ. (Filed Apr. 25, 2025.) 


MOTION NO. (919/24) CA 24-00297.

[*1]GSMS 2015-GC34 COMMERCE COURT, LLC, PLAINTIFF-RESPONDENT, 
vCALAMAR CONSTRUCTION MANAGEMENT, INC., DEFENDANT-APPELLANT. (APPEAL NO. 1.)



MEMORANDUM AND ORDER
Motions for reargument/clarification or leave to appeal to the Court of Appeals denied.








